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10
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11   ED HULL
12
13                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
14
15
     ED HULL, an individual,                     Case No.
16
              Plaintiff,
17
         v.
18                                               COMPLAINT FOR VIOLATIONS
     ARMEHR CORP., a California                  OF: AMERICANS WITH
19
     corporation; and DOES 1-10,                 DISABILITIES ACT OF 1990, 42
20                                               U.S.C. § 12181, et seq.; UNRUH
              Defendants.                        CIVIL RIGHTS ACT, CALIFORNIA
21
                                                 CIVIL CODE § 51, et seq.
22
23                                               DEMAND FOR BENCH TRIAL
24
25
         Landlords demonize access cases and often deviously foist the overdue
26
        remediation costs onto business owners who lease their land, all the while
27
                protesting in litigation, tying up the Court. The secret is out.
28

                                         COMPLAINT
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 1          Plaintiff Ed Hull (hereinafter referred to as “Plaintiff”) complains of
 2
     ARMEHR Corp., a California corporation; and Does 1-10 (each, individually a
 3
 4   “Defendant,” and collectively “Defendants”), and alleges as follows:

 5     I.     INTRODUCTION: THE CROSSROADS OF CIVIL RIGHTS AND
 6
                            PRIVATE INFRASTRUCTURE REFORM
 7
 8          The landlord community has demonized ADA lawsuits in order to avoid
 9   compliance with Federal law. Landlords often use heavy handed leases which
10
     unfairly and secretly foist the responsibility of access law compliance of their
11
12   property onto the shoulders of the unfortunate business owner/lessor who does not
13   see the landmine in the lease. Inevitable lawsuits by customers against landlords
14
     who own the non-compliant property asking for legally required features in the
15
16   property are then mischaracterized as attacks on the unfortunate business
17   owner/lessor by dastardly customers. This cynical and unfair tactic has caused
18
     administrative headaches for the courts which must deal with emotional and
19
20   unnecessary litigation and has obscured the truth. In reality, the landlords’ goal is to
21
     save money by failing to bring the property into compliance and then when caught,
22
     blame the disabled customer and force the remediation costs upon the business
23
24   owner. The landlord is the predator. Here are the facts:
25
            Mass Non-Compliance with the ADA. Many places are dilapidated and need
26
     remediation. Non-compliance is rampant. Many if not most places are not fully
27
28
                                          2
                                      COMPLAINT
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 1   compliant with access laws. Many properties have terribly dilapidated pavement,
 2
     vandalized or missing access signage, incorrectly designed paths and have
 3
 4   restrooms which are unusable for disabled people. These problems are common and

 5   egregious in many places.
 6
            No Government Oversight. The government will not provide inspections or
 7
 8   monitoring of the vast swaths of privately owned land and buildings used by
 9   people. Incorrectly designed features will stay non-compliant. Many features will
10
     also erode with time from long term heavy usage, weather/climate ware, vandalism,
11
12   etc.
13          Private Infrastructure Reform. The remediation and improvement to these
14
     properties is good for business. Improvements which better the land and bring the
15
16   property into compliance with Federal law increase the property value and make the
17   areas more appealing for customers.
18
            Remediation Costs are Tiny Compared to the Wealth of the Landlord.
19
20          The costs of remediation in many instances are a tiny fraction of the income
21   of most landlords, who typically own multiple commercial properties and are in the
22
     landlord business. The landlord that owns one property is indeed a rare creature in
23
24   California. The value of the building, improvements and land for most properties,
25
     coupled with other properties owned, dwarfs the negligible expenses of
26
     remediation, which incidentally should have been made already without the need
27
28
                                         3
                                     COMPLAINT
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 1   for a lawsuit. The lawsuit is an unfortunate byproduct of the landlord’s original
 2
     refusal to follow the law. The landlord saved and avoided those costs until the case.
 3
 4         Need for these cases. Despite the history of access cases there is still mass

 5   non-compliance. The deterrent effect has not been enough to bring about
 6
     remediation such that these cases discontinue and are growing. Until the legislative
 7
 8   intent arises to change the law so that government inspectors appear on the streets
 9   monitoring and enforcing access laws, these cases will be essential and important to
10
     giving access to all and to improving the landscape for all customers.
11
12                                      II.    PARTIES
13         1.     Plaintiff Ed Hull suffers from neuropathy caused by advanced
14
     diabetes. He has significant impairment in his lower body, causing pain and limited
15
16   range of movement. He experiences left knee pain and left shoulder pain. He has
17   arthritis in his left shoulder, which also has a muscle tear. He uses a cane most of
18
     the time. Plaintiff is a disabled person entitled to the protections of the California
19
20   Unruh Civil Rights Act (UCRA) (see Cal. Civ. Code §§ 51, et seq., 52, et seq.), the
21   Americans with Disabilities Act (ADA) (see 42 U.S.C. § 12102, et seq.), and other
22
     statutory laws which protect the rights of “disabled persons.” Plaintiff has been
23
24   issued a Disabled Person Parking Placard, by the State of California. Plaintiff is a
25
     California resident with physical disabilities.
26
           2.     Defendant ARMEHR Corp., a California corporation, owned the
27
28
                                          4
                                      COMPLAINT
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 1   property (the “Property”), located at 3817 W 3rd St., Los Angeles, CA 90020.
 2
           3.     There is a business establishment on the Property named “Chevron,”
 3
 4   (“the business”).

 5         4.     The business is a public accommodation as defined by 42 U.S.C. §
 6
     12181(7).
 7
 8         5.     DOES 1 through 10 were at all relevant times lessors, lessees, property
 9   owners, subsidiaries, parent companies, affiliates, employers, employees, agents,
10
     corporate officers, managers, principles, and/or representatives of Defendants.
11
12   Plaintiff is unaware of the true names and capacities of Defendants sued herein as
13   DOES 1 through 10, inclusive, and, therefore, sues those Defendants by fictitious
14
     names. Plaintiff requests that the Court grant leave to amend this complaint to
15
16   allege the true names and capacities when determined by whatever source.
17         6.     Defendants, at all relevant times, were relevant to this action; were the
18
     owners, franchisees, franchisors, lessees, lessors, general partners, limited partners,
19
20   agents, affiliates, employees, employers, representative partners, subsidiaries,
21
     partner companies, and/or joint venturers of the remaining Defendants; and were
22
     acting within the course and scope of that relationship. Upon information and
23
24   belief, Plaintiff alleges that each of the Defendants gave consent to, ratified, and/or
25
     authorized the acts alleged of each of the remaining Defendants.
26
           7.     Plaintiff visited the public accommodations owned, leased, and/or
27
28
                                          5
                                      COMPLAINT
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 1   operated by Defendants with the intent to purchase and/or use the goods, services,
 2
     facilities, privileges, advantages, and/or accommodations offered by Defendants.
 3
 4                             III.   JURISDICTION & VENUE
 5          8.     This Court has subject matter jurisdiction over this action pursuant to
 6   28 U.S.C. § 1331 and 28 U.S.C. § 1343(a)(3) & (a)(4) for violations of the ADA.
 7
            9.     Pursuant to supplemental jurisdiction, an attendant and related cause of
 8
 9   action, arising from the same nucleus of operative facts, and arising out of the same
10
     transactions, is also brought under the UCRA, which expressly incorporates the
11
     ADA.
12
13          10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because
14
     the real property which is the subject of this action is located in this district, and
15
     Plaintiff’s cause of action arose in this district.
16
17                                         IV.    FACTS
18
            11.    The Property is a facility which is open to the public and includes
19
     business establishments.
20
21          12.    The Property has been newly constructed and/or underwent
22
     remodeling, repairs, or alterations after January 26, 1992. Defendants have failed
23
     to comply with California access standards which applied at the time of each new
24
25   construction and/or alteration, and/or failed to maintain accessible features in
26
     operable working condition.
27
28
            13.    Plaintiff visited the Property during the relevant statutory period on
                                            6
                                        COMPLAINT
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 1   two (2) separate occasions, in September 2021 and October 2021 to patronize the
 2
     business on the Property.
 3
 4         14.    Defendants did not offer persons with disabilities with equivalent

 5   facilities, privileges, and advantages offered by Defendants to other patrons.
 6
           15.    Plaintiff encountered barriers, both physical and intangible, that
 7
 8   interfered with, and denied, Plaintiff the ability to use and enjoy the goods, services,
 9   privileges, and/or accommodations offered at the Property.
10
           16.    Parking is one of the facilities, privileges, and advantages offered by
11
12   Defendants to patrons of the Property.
13         17.    However, there was no accessible parking for disabled patrons at the
14
     Property. The parking space(s) designated for disabled persons did not comply
15
16   with the ADA.
17         18.    The parking area did not comply with the applicable California
18
     Building Code (CBC).
19
20         19.    When Plaintiff visited the Property, he experienced access barriers
21
     related to parking, signage, paths of travel, and restrooms.
22
           20.    Plaintiff encountered the following barriers, conditions, and/or
23
24   violations at the Property:
25
           The property which serves Chevron has many violations of the ADAAG
26
           which are barriers to somebody like Plaintiff. There are major problems
27
28
                                          7
                                      COMPLAINT
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 1        related to damaged and uneven surfaces. Some of the pavement
 2
          distresses are from damage (such as cracks in the asphalt), some from
 3
 4        bad design or installation (for example uneven pavement). The property

 5        is missing marked paths of travel from the access aisle. There are
 6
          problems inside of Chevron also. There is no accessible sign upon
 7
 8        entering the business. There are many other problems as well.
 9
10
          VIOLATION of 1991 ADAS § 4.3.2(1); 2010 ADAS § 206.2.1; 2010 CBC
11
12        § 1114B.1.2; 2019 CBC § 11B-206.2.1. (Exterior route of travel.) An
13        accessible route of travel is not provided to all entrances and portions of the
14
          building, to all entrances of the Property, and/or between the building and a
15
16        public way. Plaintiff needs a dedicated path of travel, free of obstructions
17        and vehicles, where (on which) Plaintiff can travel. It is dangerous for
18
          Plaintiff to navigate without a safe, protected, accessible route of travel; thus,
19
20        the violation interferes with Plaintiff’s ability to fully access the premises.
21
22
23        VIOLATION of 1991 ADAS §§ 4.1.2(1), 4.3.2(1); 2010 ADAS §§ 206.1,
24
          206.2, 206.2.1, 206.2.2, 206.2.4; 2010 CBC § 1114B.1.2; 2010 CBC §
25
26        1127B.1; 2019 CBC §§ 11B-206.2.1, 11B-206.2.2, 11B-206.2.4.

27        (Accessible route of travel.) At least one accessible route shall be provided
28
                                         8
                                     COMPLAINT
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 1        within the site from accessible parking spaces and accessible passenger
 2
          loading zones; public streets and sidewalks; and public transportation stops to
 3
 4        the accessible building or facility entrance they serve. At least one accessible

 5        route shall connect accessible buildings, accessible facilities, accessible
 6
          elements, and accessible spaces that are on the same site. The requisite
 7
 8        accessible route of travel is not provided. There is no accessible route of
 9        travel from the designated disabled parking spaces, adjacent access aisle to
10
          the business/building entrance. Plaintiff needs an accessible route of travel,
11
12        with level and smooth ground, free of obstructions and vehicles, whereupon
13        Plaintiff can ambulate. It is dangerous for Plaintiff to travel these areas
14
          without a safe, protected, accessible route of travel; thus, the violation
15
16        interferes with Plaintiff’s ability to fully access the premises. The lack of a
17        safe and accessible route, with a smooth and level surface, denied Plaintiff
18
          full and equal use or access during each of Plaintiff’s visits by making it
19
20        difficult/ harder for Plaintiff to traverse.
21
22
          VIOLATION of 1991 ADAS § 4.1.2(7); 2010 ADAS § 216.6; 2010 CBC §
23
24        1127B.3; 2019 CBC § 11B-216.6. (Directional signage.) There is no
25
          directional signage showing an accessible path of travel to an accessible
26
          entrance. Plaintiff faces an increased risk of injury if Plaintiff is required to
27
28
                                          9
                                      COMPLAINT
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 1         backtrack because Plaintiff cannot find an accessible entrance into the
 2
           business/building. Thus, Plaintiff requires clear signage directing him to any
 3
 4         accessible entrance(s). Accessible entrances should be marked with an

 5         International Symbol of Accessibility.
 6
 7
 8         VIOLATION of 2010 CBC § 1129B.4; 2019 CBC § § 11B-502.8, 11B-
 9         502.8.2. (Off-street unauthorized parking sign – not posted.) The tow away
10
           sign(s) (white sign stating that “UNAUTHORIZED VEHICLES PARKED
11
12         IN DESIGNATED ACCESSIBLE SPACES … WILL BE TOWED
13         AWAY”) must be posted in a conspicuous place at each entrance to an off-
14
           street parking lot (facility), or immediately adjacent to and visible from each
15
16         designated parking stall (space). The requisite sign(s) are not posted.
17         Plaintiff must use the designated disabled parking spaces and requires the
18
           proper protections of an access aisle and an accessible route of travel to
19
20         safely access the Property. Clear signage that explicitly warns of the
21         consequences for improperly parking in the designated disabled parking
22
           spaces will deter others without disabilities from parking there.
23
24
25
           VIOLATION of 2019 CBC § 11B-502.6; 2010 ADAS § 502.6. (Sign
26
           obscured.) The sign identifying designated disabled parking space(s) is
27
28
                                        10
                                     COMPLAINT
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 1         illegible because it is covered with adhesive sticker(s) and/or graffiti. This
 2
           makes it difficult for Plaintiff and other patrons to see and read the sign.
 3
 4         Plaintiff needs to be able to use an accessible parking space, with an access

 5         aisle, to safely access the Property. Clear signage that explicitly marks the
 6
           designated disabled parking space will deter others without disabilities from
 7
 8         parking in the space and thereby blocking Plaintiff from being able to use it.
 9         Plaintiff needs to park in the space that is nearest to the business entrance and
10
           designated for disabled patrons.
11
12
13         VIOLATION of 1991 ADAS § 4.3.7; 2010 ADAS § 403.3; 2019 CBC §
14
           11B-403.3. (Route/path of travel – cross slopes.) The cross slopes of the
15
16         route/path of travel are greater than two percent (2%). It is difficult for
17         Plaintiff to travel on surfaces with excess slopes. Plaintiff is at risk of falling
18
           when there are surfaces with excess slopes. The presence of excess slopes
19
20         denied Plaintiff full and equal use or access during Plaintiff’s visits by
21         making it difficult and/or uncomfortable for Plaintiff to traverse the
22
           property/route. The barrier also deterred/deters Plaintiff from visiting the
23
24         Property because it would make it difficult and/or uncomfortable for
25
           Plaintiff to walk/traverse the property/route.
26
27
28
                                         11
                                      COMPLAINT
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 1         VIOLATION of 1991 ADAS §§ 4.5.2, 4.6.8; 2010 ADAS §§ 302.1, 303.1,
 2
           303.2, 303.3, 303.4; 2010 CBC §§ 1120B.2, 1133 B.7.1, 1133B.7.4; 2019
 3
 4         CBC §§ 11B-303.1, 11B-303.2, 11B-303.3, 11B-303.4, 11B-303.5. (Abrupt

 5         changes in level; uneven ground surface.) Floor and ground surfaces shall be
 6
           stable, firm, and slip resistant. Changes in level of 1/4 inch high maximum
 7
 8         shall be permitted to be vertical and without edge treatment. Changes in
 9         level between ¼-inch high minimum and ½-inch high maximum shall be
10
           beveled with a slope not steeper than 1:2. Changes in level greater than 1/2
11
12         inch high shall be ramped. The route of travel, including from the designated
13         disabled parking space to the entrance of the building/business, have an
14
           uneven ground surface with changes in level exceeding one-half inch (1/2")
15
16         (and no ramps are provided). The route of travel has damaged ground which
17         is not flush or flat. The ground has pavement distresses. These pavement
18
           distresses are made worse and exacerbated by design elements which do not
19
20         follow the ADAAG. These areas should be fixed immediately because they
21         pose a tripping and/or falling hazard. Plaintiff, a cannot safely and fully
22
           enjoy the premises when such conditions are present. These excess changes
23
24         in level and uneven ground surfaces pose risks to Plaintiff, including that
25
           Plaintiff’s foot, may catch on the uneven ground causing Plaintiff to fall.
26
           These abrupt changes in level pose an increased risk of danger to Plaintiff, as
27
28
                                        12
                                     COMPLAINT
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 1         Plaintiff is more likely to trip/fall than someone without disabilities. The
 2
           excess changes in level (i.e., uneven ground) denied Plaintiff full and equal
 3
 4         use or access during each of Plaintiff’s visits by making it difficult/harder

 5         and more dangerous for Plaintiff to traverse the property/route. The excess
 6
           changes in level (i.e., uneven ground) also deterred/deters Plaintiff from
 7
 8         visiting the Property because it would be difficult/harder and more dangerous
 9         for Plaintiff to traverse the property/route.
10
11
12         VIOLATION of 2010 CBC § 1133B.7.1; 1991 § ADAS § 4.3.8. (Walks/
13         sidewalks – changes in level.) The walk leading into the business does not
14
           have a continuous common surface because there are abrupt changes in level
15
16         of more than one-half inch (1/2"). Plaintiff cannot fully enjoy the premises
17         because these conditions pose a risk that, among other things, Plaintiff may
18
           fall and/or that Plaintiff’s foot may become trapped in an uneven surface.
19
20
21         21.    Plaintiff personally encountered the foregoing barriers, conditions,
22
     and/or violations.
23
24         22.    These barriers, conditions, and/or violations denied Plaintiff full and
25
     equal access, and caused him difficulty, humiliation, and/or frustration.
26
           23.    The barriers, conditions, and/or violations existed during each of
27
28
                                         13
                                      COMPLAINT
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 1   Plaintiff’s visits in 2021.
 2
            24.    Defendants knew that the foregoing architectural barriers prevented
 3
 4   access. Plaintiff will prove that Defendants had actual knowledge that the

 5   architectural barriers prevented access, and that the noncompliance with the ADA
 6
     Standards for Accessible Design (ADAS), ADA Accessibility Guidelines for
 7
 8   Buildings and Facilities (ADAAG), and/or the California Building Code (CBC)
 9   was intentional.
10
            25.    Plaintiff intends and plans to visit the Property again soon. Currently,
11
12   Plaintiff is reasonably deterred from returning to Defendants’ public
13   accommodation facilities because of the knowledge of barriers to equal access,
14
     relating to Plaintiff’s disabilities, that continue to exist at the Property.
15
16          26.    Defendants have failed to maintain in working and useable condition
17   those features necessary to provide ready access to persons with disabilities.
18
            27.    Defendants have the financial resources (i.e., financial ability) to
19
20   remove these barriers without much expense or difficulty in order to make the
21
     Property more accessible to their mobility impaired customers (i.e., disabled
22
     persons). The removal of these barriers is readily achievable. The United States
23
24   Department of Justice has determined that removal of these types of barriers is
25
     readily achievable.
26
            28.    Defendants refuse to remove these barriers.
27
28
                                           14
                                        COMPLAINT
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 1         29.    On information and belief, Plaintiff alleges that Defendants’ failure to
 2
     remove these barriers was/is intentional, because the barriers are logical and
 3
 4   obvious. During all relevant times, Defendants had authority, control, and

 5   dominion over these conditions. Thus, the absence of accessible facilities was/is
 6
     not a mishap; it was/is the result of intentional actions or inaction.
 7
 8         30.    These barriers to access are described herein without prejudice to
 9   Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
10
     agents and/or experts. See Doran v 7-ELEVEN, Inc., 524 F.3d 1034 (9th Cir. 2008)
11
12   (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
13   have all barriers that relate to his or her disability removed, regardless of whether
14
     he or she personally encountered them).
15
16               IV. FIRST CAUSE OF ACTION: VIOLATION OF THE
17                 AMERICANS WITH DISABILITIES ACT OF 1990
18
                                   (42 U.S.C. § 12101, et seq.)
19
20                                  (Against All Defendants)
21         31.    Plaintiff alleges and incorporates by reference each and every
22
     allegation contained in all prior paragraphs of this complaint.
23
24         32.    Title III of the ADA prohibits discrimination against any person on the
25
     basis of disability in the full and equal enjoyment of the goods, services, facilities,
26
     privileges, advantages, or accommodations of any place of public accommodation
27
28
                                          15
                                       COMPLAINT
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 1   by any person who owns, leases, or operates a place of public accommodation. 42
 2
     U.S.C. § 12182(a).
 3
 4             33.   Defendants discriminated against Plaintiff by denying him “full and

 5   equal enjoyment” and use of the goods, services, facilities, privileges, and/or
 6
     accommodations they offered during each visit, and each incident of a deterred
 7
 8   visit.
 9             34.   The acts and omissions of Defendants herein were/are in violation of
10
     Plaintiff’s rights under the ADA and the regulations codified at 28 C.F.R. Part 36,
11
12   et seq.
13             35.   Pursuant to the ADA, discrimination is a “failure to make reasonable
14
     modifications in policies, practices or procedures, when such modifications are
15
16   necessary to afford goods, services, facilities, privileges, advantages or
17   accommodations to individuals with disabilities, unless the entity can demonstrate
18
     that making such modifications would fundamentally alter the nature of such goods,
19
20   services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
21
     12182(b)(2)(A)(ii).
22
               36.   The ADA requires removal of architectural barriers in existing
23
24   facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv)
25
     (“discrimination includes … a failure to remove architectural barriers, and
26
     communication barriers that are structural in nature, in existing facilities, … where
27
28
                                           16
                                        COMPLAINT
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 1   such removal is readily achievable”). The term “readily achievable” is defined as
 2
     “easily accomplishable and able to be carried out without much difficulty or
 3
 4   expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA

 5   Standards for Accessible Design (ADAS), found at 28 C.F.R. Part 36, including the
 6
     ADA Accessibility Guidelines for Buildings and Facilities (ADAAG), at Part 36,
 7
 8   Appendix A.
 9         37.    If removal of any barrier is not readily achievable, a failure to make
10
     goods, services, facilities, or accommodations available through alternative
11
12   methods is also prohibited if the alternative methods are readily achievable. 42
13   U.S.C. § 12182(b)(2)(A)(v).
14
           38.    Defendants can remove the architectural barriers at their facility
15
16   without much difficulty or expense. Defendants violated the ADA by failing to
17   remove the barriers because removal was readily achievable. For instance, there
18
     are companies which can repaint parking areas for as little as $350. Defendants can
19
20   afford such costs, which are a fraction of what Defendants receive in (rental or
21
     business) profits in connection with such a large and expensive property.
22
           39.    Alternatively, if it was not “readily achievable” for Defendants to
23
24   remove barriers at their facilities, Defendants violated the ADA by failing to make
25
     their services available through alternative methods which are readily achievable.
26
           40.    On information and belief, Plaintiff alleges that the facility was altered
27
28
                                         17
                                      COMPLAINT
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 1   after January 26, 1992, mandating compliance with accessibility requirements
 2
     under the ADA.
 3
 4         41.    The ADA requires that facilities altered in a manner that affects or

 5   could affect their usability must be made readily accessible to individuals with
 6
     disabilities to the maximum extent feasible. 42 U.S.C. § 12183(a)(2).
 7
 8         42.    Defendants altered the facilities at the Property in a manner that
 9   violated the ADA, and/or failed to make the Property readily accessible to
10
     physically disabled persons to the maximum extent feasible.
11
12         43.    The ADA also requires reasonable modifications in policies, practices,
13   or procedures, when such modifications are necessary to afford goods, services,
14
     facilities, privileges, advantages, or accommodations to individuals with
15
16   disabilities, unless the entity can demonstrate that making such modifications
17   would fundamentally alter the nature of such goods, services, facilities, privileges,
18
     advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
19
20         44.    Defendants violated the ADA by failing to make reasonable
21   modifications in policies, practices, or procedures at the Property when these
22
     modifications were necessary to afford (and would not fundamentally alter the
23
24   nature of) the goods, services, facilities, privileges, advantages, or accommodations.
25
           45.    Plaintiff seeks a finding from this Court that Defendants violated the
26
     ADA, so that he may pursue damages under California’s Unruh Civil Rights Act.
27
28
                                         18
                                      COMPLAINT
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 1         46.    Here Defendants’ failure to make sure that accessible facilities were
 2
     available to, and ready to be used by, Plaintiff was/is a violation of law.
 3
 4         47.    Plaintiff would like to continue to frequent the Property. However, he

 5   is deterred from doing so because he has been discriminated against and is aware of
 6
     accessibility barriers at the Property.
 7
 8         48.    Among the remedies sought, Plaintiff seeks an injunction order
 9   requiring compliance with federal and state disability access laws, and remediation
10
     of the existing access violations (i.e., removal of the existing barriers) at the
11
12   Property.
13               V. SECOND CAUSE OF ACTION: VIOLATION OF THE
14
                                UNRUH CIVIL RIGHTS ACT
15
16                                 (Cal. Civ. Code §§ 51-53)
17                                  (Against All Defendants)
18
           49.    Plaintiff repleads and incorporates by reference, as though fully set
19
20   forth herein, the allegations contained in all prior paragraphs of this complaint.
21
           50.    California Civil Code § 51 states, in part: “All persons within the
22
     jurisdictions of this state are entitled to the full and equal accommodations,
23
24   advantages, facilities, privileges, or services in all business establishments of every
25
     kind whatsoever.”
26
           51.    California Civil Code § 51 also states, in part: “No business
27
28
                                          19
                                       COMPLAINT
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 1   establishment of any kind whatsoever shall discriminate against any person in this
 2
     state because of the disability of the person.”
 3
 4          52.    California Civil Code § 51(f) specifically incorporates, by reference,

 5   an individual’s rights under the ADA into the Unruh Civil Rights Act (UCRA).
 6
            53.    The UCRA also provides that a violation of the ADA, or California
 7
 8   state accessibility regulations, is a violation of the UCRA. Cal. Civ. Code § 51(f);
 9   see Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D. Cal.
10
     1994).
11
12          54.    Defendants’ above-mentioned acts and omissions have violated the
13   UCRA by denying Plaintiff his rights to full and equal use of the accommodations,
14
     advantages, facilities, privileges, and services they offer, on the basis of Plaintiff’s
15
16   disability.
17          55.    Defendants’ above-mentioned acts and omissions have also violated
18
     the UCRA by denying Plaintiff his rights to equal access pursuant to the ADA; and,
19
20   thus, Defendants are liable for damages. See Cal. Civ. Code § 51(f), 52(a).
21          56.    Because Defendants’ violation of the UCRA resulted in difficulty,
22
     discomfort, and/or embarrassment for Plaintiff, Defendants are each also
23
24   responsible for statutory damages. See Cal. Civ. Code § 55.56(a), (c).
25
     //
26
     //
27
28
                                          20
                                       COMPLAINT
Case 2:22-cv-03332-PA-KS Document 1 Filed 05/17/22 Page 21 of 21 Page ID #:21



 1         57.      Plaintiff was (actually) damaged by Defendants’ wrongful conduct.
 2
     He seeks actual damages, and statutory minimum damages of four thousand dollars
 3
 4   ($4,000) for each offense (i.e., for each occasion that Plaintiff was denied full and

 5   equal access).
 6
                                    PRAYER FOR RELIEF
 7
 8         WHEREFORE, Plaintiff prays for judgment against Defendants, as follows:
 9         1. For injunctive relief compelling Defendants to comply with the
10
                 Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
11
12               Plaintiff is not invoking section 55 of the California Civil Code and is not
13               seeking injunctive relief under the Disabled Persons Act.
14
           2. Damages under the Unruh Civil Rights Act, which provides for actual
15
16               damages and statutory minimum damages of $4,000 per each offense.
17         3. Reasonable attorney fees, litigation expenses, and costs of suit, pursuant
18
                 to 42 U.S.C. § 12205, and Cal. Civ. Code § 52.
19
20
21                                            DEMAND
22
           Plaintiff demands a bench trial on all issues so triable.
23
24
25   Dated: May 22, 2022                THE LAW OFFICE OF HAKIMI & SHAHRIARI

26                                      By:    /s/ Peter Shahriari
                                               PETER SHAHRIARI, ESQ.
27                                             Attorney for Plaintiff Ed Hull
28
                                           21
                                        COMPLAINT
